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                         ATTACHMENT 1
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                          DECLARATION OF ANA GUAJARDO, EXECUTIVE DIRECTOR

                                         CENTRO DE TRABAJADORES UNIDOS
            I, Ana Guajardo, declare as follows:

            1.       I am the Executive Director of Centro de Trabajadores Unidos (“CTU”). CTU is a

            membership organization based in Chicago, Illinois. CTU is a grassroots member-led community

            organization and worker center serving Chicago’s southeast side and south suburbs. CTU strives

            to build immigrant and worker power by working to advance systemic change that promotes racial,

            gender and economic justice and stabilizes low-income immigrant communities and communities

            of color. CTU effectuates its mission by educating workers about their right to organize, sharing

            information about leadership opportunities and legal rights in immigrant communities, assisting

            workers seeing to establish business cooperatives, and engaging local parents who wish to improve

            communities schools through volunteering with CTU’s parent-mentor program.

            2.       Some of CTU’s members work in the United States although they cannot apply for or

            receive a Social Security Number (SSN). Those members are still required to pay federal income

            taxes on their earnings. The taxes they pay support federal programs like Social Security and

            Medicare that they may not benefit from.

            3.       Congress created an alternative means of identifying taxpayers who lack a SSN, known as

            an Individual Taxpayer Identification Number or ITIN. To obtain an ITIN, one must complete an

            application that includes the applicant’s name and address and other identifying information. A

            copy of the application form W-7 is attached. When they file their federal tax returns, they use

            their ITIN number and must include their current address (which may be different from the address

            used to obtain an ITIN), as well as information regarding their dependents and their sources of

            income.
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            4.       CTU consistently encourages our members who lack SSNs but who earn enough money to

            be obligated to pay federal taxes to file tax returns and pay any money that they owe. We do this

            not only because the law requires the payment of income taxes owed, but also because many of

            our members hope to regularize their immigration status in the future, and it may be more difficult

            for them to adjust their status if they have unpaid federal taxes. We also advise our members to

            pay their taxes because we know that non-payment can carry criminal penalties and that untimely

            payment can subject the taxpayer to interest and penalties.

            5.       When we share information about filing taxes with our members who do not have SSNs

            and encourage them to obtain an ITIN to pay their federal taxes, we generally inform them that the

            law protects the information that they provide to the IRS from being disclosed to people outside

            the IRS. This protection is vital to our members who lack SSNs and might be subject to removal

            from the United States. That risk would increase significantly if DHS and other agencies of the

            federal government had access to tax returns and related records.

            6.       Based on my experience working with members of CTU, I have found that they

            enthusiastically follow our advice that they file taxes with the federal government and that they do

            so on time. Still, those members consistently have concerns about the security of their information

            and fear that its release could subject them to consequences such as arrest, detention, and removal

            from the United States. If their ITIN and other tax return information is disclosed to DHS despite

            the protections of the Tax Code, they would be at great risk of severe harm. Moreover, my

            experience suggests that workers without SSNs who do not already have ITIN numbers will be

            much less likely to obtain them and pay federal income taxes if the IRS is permitted to provide

            DHS with ITIN related information, despite the express protections in the Tax Code.
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                     Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the foregoing

            statements are true and correct. Dated this 13 day of March 2025.

                                                       ______________________
                                                       Ana Guajardo
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Form  W-7
(Rev. December 2024)
                                                      Application for IRS Individual
                                                     Taxpayer Identification Number                                                                OMB No. 1545-0074
Department of the Treasury               For use by individuals who are not U.S. citizens or permanent residents.
Internal Revenue Service                  Go to www.irs.gov/FormW7 for instructions and the latest information.
An IRS individual taxpayer identification number (ITIN) is for U.S. federal tax purposes only.                                   Application type (check one box):
Before you begin:                                                                                                                      Apply for a new ITIN
• Don’t submit this form if you have, or are eligible to get, a U.S. social security number (SSN).                                     Renew an existing ITIN
Reason you’re submitting Form W-7. Read the instructions for the box you check. Caution: If you check box b, c, d, e, f, or g, you must file a U.S.
federal tax return with Form W-7 unless you meet one of the exceptions (see instructions).
  a     Nonresident alien required to get an ITIN to claim tax treaty benefit (you must also check and complete box h (see instructions))
  b     Nonresident alien filing a U.S. federal tax return
  c     U.S. resident alien (based on days present in the United States) filing a U.S. federal tax return
  d
  e


  f
        Dependent of U.S. citizen/resident alien
        Spouse of U.S. citizen/resident alien
                                                        }
                                                   If d, enter relationship to U.S. citizen/resident alien (see instructions)
                                                   If d or e, enter name and SSN/ITIN of U.S. citizen/resident alien (see instructions)


        Nonresident alien student, professor, or researcher filing a U.S. federal tax return or claiming an exception (if claiming an exception, you must
        also check and complete box h (see instructions))
  g     Dependent/spouse of a nonresident alien holding a U.S. visa
  h      Other (see instructions)
Additional information for a and f: Enter treaty country                                            and treaty article number
Name                    1a First name                                      Middle name                                  Last name
(see instructions)
Name at birth if        1b First name                                      Middle name                                    Last name
different . . .

Applicant’s             2    Street address, apartment number, or rural route number. If you have a P.O. box, see separate instructions.
Mailing
Address                      City or town, state or province, and country. Include ZIP code or postal code where appropriate.


Foreign                 3    Street address, apartment number, or rural route number. Don’t use a P.O. box number.
(non-U.S.)
Address                      City or town, state or province, and country. Include postal code where appropriate.
(see instructions)
Birth                   4    Date of birth (month / day / year)     Country of birth                       City and state or province (optional)        5Male
Information                         /       /                                                                                                            Female
Other                   6a Country(ies) of citizenship          6b Foreign tax I.D. number (if any)      6c Type of U.S. visa (if any), number, and expiration date
Information
                        6d Identification document(s) submitted. (Complete for the first document submitted. For multiple documents, see instructions)
                                 Passport            Driver’s license/State I.D.            USCIS documentation                 Other
                             Issued by:                                                                                              Date of entry into the United States
                             Number:                                                       Exp. date:        /     /                 (MM/DD/YYYY):          /   /
                        6e Have you previously received an ITIN or an Internal Revenue Service Number (IRSN)?
                                No/Don’t know. Skip line 6f.
                                Yes. Complete line 6f. If more than one, list on a sheet and attach to this form (see instructions).
                        6f Enter ITIN and/or IRSN           ITIN                –          –                           IRSN                  –          –
                             and name under which it was issued
                                                                                 First name                      Middle name                       Last name
                        6g Name of college/university or company (see instructions)
                           City and state                                                                   Length of stay
Sign                   Under penalties of perjury, I (applicant/delegate/acceptance agent) declare that I have examined this application, including accompanying
                       documentation and statements, and to the best of my knowledge and belief, it is true, correct, and complete. I authorize the IRS to share
Here                   information with my acceptance agent in order to perfect this Form W-7, Application for IRS Individual Taxpayer Identification Number.
Keep a copy for        Signature of applicant (if delegate, see instructions)              Date (month / day / year) Phone number
your records.
                                                                                                  /        /
                       Name of delegate, if applicable (type or print)                     Delegate’s relationship to applicant
                                                                                               Parent         Power of attorney               Court-appointed guardian
Acceptance             Signature                                                           Date (month / day / year) Phone
Agent’s                                                                                          /           /             Fax
Use ONLY               Name and title (type or print)                               Name of company                    EIN                       PTIN
                                                                                                                       Office code
For Paperwork Reduction Act Notice, see separate instructions.                                       Cat. No. 10229L                             Form W-7 (Rev. 12-2024)
